Case 1:19-cr-10163-IT Document 280 Filed 01/11/21 Page 1 of 7

AO 245B (Rev. 11/16) Judgment in a Criminal Case
Sheet 1

UNITED STATES DISTRICT COURT

District of Massachusetts

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

Vv.

STEVEN MIRANDA Case Number: 1: 19 CR 10163 - 3 - IT

USM Number: 01590-138

James H. Budreau

 

 

)
)
)
)
)
)
)
)
)

‘Defendant's Attorney

THE DEFENDANT:
I pleaded guilty to count(s) 1

L] pleaded nolo contendere to count(s)
which was accepted by the court.

[] was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
21 U.S.C. §§846 & 841 Conspiracy to Distribute and to Possess With Intent to Distribute 04/25/19 1
(b)(1)(C) Fentanyl, Furanyl Fentanyl, Heroin, Cocaine, and Marijuana

The defendant is sentenced as provided in pages 2 through of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984,

CZ The defendant has been found not guilty on count(s)

 

 

C] Count(s) _ Cis Care dismissed on the motion of the United States.

__, itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

1/8/2021
‘Date of Imposition of Judgment

Brdlaa Jere

 

Signature of Judge

Indira Talwani,
U.S. District Judge

Name and Title of Judge

 

1/11/2021
‘Date
Case 1:19-cr-10163-IT Document 280 Filed 01/11/21 Page 2 of 7

AO 24SB (Rev. 11/16) Judgment in Criminal Case
Sheet 2 -— Imprisonment

Judgment — Page 2 of
DEFENDANT: STEVEN MIRANDA
CASE NUMBER: 1:19 CR 10163 - 3 - IT

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

Time Served.

C] The court makes the following recommendations to the Bureau of Prisons:

(] The defendant is remanded to the custody of the United States Marshal.

[1 The defendant shall surrender to the United States Marshal for this district:

Oa Oam OO pm on

 

[as notified by the United States Marshal.

[1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
[1 before 2 p.m. on _
(as notified by the United States Marshal.

C1 as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a _ _, with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
Case 1:19-cr-10163-IT Document 280 Filed 01/11/21 Page 3 of 7

AO 245B (Rev. 02/18) Judgment in a Criminal Case
Sheet 3 — Supervised Release

 

Judgment—Page 3 of 7
DEFENDANT: STEVEN MIRANDA
CASE NUMBER: 1:19 CR 10163 -3 -IT
SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of : 5 year(s)
MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.
[1] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)

J You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

5. C1) You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you

reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6. ( You must participate in an approved program for domestic violence. (check if applicable)

wh

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
Case 1:19-cr-10163-IT Document 280 Filed 01/11/21 Page 4 of 7

AO 245B (Rev. 02/18) Judgment in a Criminal Case
Sheet 3A — Supervised Release
Judgment—Page of t
DEFENDANT: STEVEN MIRANDA
CASE NUMBER: 1:19 CR 10163 -3 -IT

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7, You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity, If you know someone has been
convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.¢., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.zov.

Defendant's Signature Date
Case 1:19-cr-10163-IT Document 280 Filed 01/11/21 Page 5 of 7

AO 245B(Rev. 02/18) Judgment in a Criminal Case
Sheet 3D — Supervised Release

Jud t—P; o f 7
DEFENDANT: STEVEN MIRANDA gment—Page
CASE NUMBER: 1: 19 CR 10163 -3 -IT

SPECIAL CONDITIONS OF SUPERVISION

1. You are to reside for a period of up to six months or until appropriate housing is approved by the Probation Office, in a
Residential Re-Entry Center or sober house, and must observe the rules of that facility.

2. You must participate in a program for substance abuse counseling as directed by the Probation Office, which program
may include testing, not to exceed 104 drug tests per year, to determine whether you have reverted to the use of alcohol or
drugs.

3. You are prohibited from consuming any alcoholic beverages.

4. You must participate in a vocational services training program, as directed by the Probation Office. Such program may
include job readiness training and/or skills development training.

5. You must use your true name and are prohibited from the use of any false identifying information which includes, but is
not limited to, any aliases, false dates of birth, false social security numbers, and incorrect places of birth.

6. You shall be required to contribute to the costs of evaluation, treatment, programming, and/or monitoring (see Special
Condition #s 2 and 4), based on the ability to pay or availability of third-party payment.

7. You are recommended to participate in the U.S. Probation Department's CARE program, if deemed to be an
appropriate candidate.
Case 1:19-cr-10163-IT Document 280 Filed 01/11/21 Page 6 of 7

AO 245B (Rev. 02/18) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

© 7
Judgment ——- Page of |
DEFENDANT: STEVEN MIRANDA : —
CASENUMBER: 1:19 CR 10163 -3 -IT

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 100.00 $ $ $
(The determination of restitution is deferred until _ . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
C] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664()), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priority or Percentage
TOTALS $ 0.00 § 0.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

L] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[1 the interest requirement is waived forthe — fine (1 restitution.

LJ the interest requirement forthe 1] fine 1 restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22. . .
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
Case 1:19-cr-10163-IT Document 280 Filed 01/11/21 Page 7 of 7

AO 245B (Rev. 02/18) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

 

 

Judgment — Page ¢ of _
DEFENDANT: STEVEN MIRANDA
CASE NUMBER: 1:19 CR 10163 - 3 -IT
SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A  ™ Lump sumpayment of$ 100.00 due immediately, balance due

[] notlaterthan _ ,or

(1 +inaccordance with Q C, ] D, gf E,or CO F below; or
B- [Payment to begin immediately (may be combined with (IC, [1D,or OF below); or
C © Payment in equal — (e.g., weekly, monthly, quarterly) installments of S$ | over a period of

_ (€.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D (1 Payment in equal _ (¢.g., weekly, monthly, quarterly) installments of $ | over a period of
(e.g., months or years),tocommence ———_—_fe.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [) Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from

imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F [1 Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
€

the period of imprisonment. All criminal monetary penalties, except those payments ma
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

{) Joint and Several

through the Federal Bureau of Prisons’ Inmate

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,

and corresponding payee, if appropriate.

[LJ The defendant shall pay the cost of prosecution.
[1 The defendant shall pay the following court cost(s):

[] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
